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                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION

IN RE:                                        :        CHAPTER 7
                                              :
JOHN W. CADY, JR. &                           :
TIA G. CADY,                                  :        CASE NO. 19-40492-BEM
                                              :
                        Debtors.              :

                 APPLICATION OF CHAPTER 7 TRUSTEE TO EMPLOY
               REAL ESTATE AGENT TO MARKET PROPERTY FOR SALE

         The Application of Tracey L. Montz, Chapter 7 Trustee, respectfully represents:

                                                  1.

         The Debtors filed a voluntary petition under Chapter 7 of the Bankruptcy Code on March

4, 2019. Applicant is the duly qualified and acting Chapter 7 Trustee in this case.

                                                  2.

         Property of the Debtors’ estate includes real property located at 103 Hidden Trace Dr.,

Ringgold, Catoosa County, Georgia (the “Property”). The Trustee believes that she may be able

to sell the Property for an amount sufficient to pay a dividend to unsecured creditors.

                                                  3.

         Applicant, as Chapter 7 Trustee, desires to employ Paula Roberts of Coldwell Banker

Kinard Realty, Inc. to market and sell the Property. This Application is filed pursuant to 11

U.S.C. §327 and Rule 2014 of the Federal Rules of Bankruptcy Procedure.

                                                  4.

         To the best of Applicant's knowledge, Paula Roberts and Coldwell Banker Kinard Realty,

Inc. have no connections with the Debtor, any creditors or any other parties in interest in this

case. Paula Roberts and Coldwell Banker Kinard Realty, Inc. are “disinterested” as that term is
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defined in 11 U.S.C. §101(14).    Paula Roberts and Coldwell Banker Kinard Realty, Inc.

represent no interest adverse to the Debtor or the estate in connection with this matter, and their

employment would be in the best interest of the estate.

                                                5.

       No previous application for employment of a real estate agent for the Property has been

made to this Court in this case. Applicant submits that it would be in the best interest of the

estate to employ Paula Roberts and Coldwell Banker Kinard Realty, Inc. because they are well

qualified to sell the Property. Paula Roberts and Coldwell Banker Kinard Realty, Inc. request a

six (6%) percent sales commission in the event of a successful sale of the Property.

       WHEREFORE, Applicant prays that the Court approve the employment of Paula Roberts

and Coldwell Banker Kinard Realty, Inc. on the terms and for the purposes set forth in this

Application, and that the Court grant such other and further relief as may be just and proper.

       Dated: May 7, 2019
                                                      /s/ TRACEY L. MONTZ
                                                      Tracey L. Montz
                                                      Chapter 7 Trustee

2146 Roswell Rd. #108-406
Marietta, GA 30062
(404) 713-6472
traceymontz@yahoo.com
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STATE OF GEORGIA
COUNTY OF WHITFIELD                            AFFIDAVIT

       I, Paula Roberts, hereby make solemn oath:

                                                  1.

       I am a licensed real estate agent with the real estate firm of Coldwell Banker Kinard

Realty. I maintain my office at 704 S. Thornton Road, Dalton, Georgia, 30720.

                                                  2.

       I have read the Application to which this Affidavit is attached. I understand that the

proposed sales commission of six (6%) percent must be approved by the Bankruptcy Court prior

to payment.

                                                  3.

       To the best of my knowledge and belief, I have no other connections with the above

named Debtor, the creditors, any other party in interest herein, or any of their respective

attorneys, the United States Trustee, or any persons employed in the Office of the United States

Trustee.                                         4.

       To the best of my knowledge and belief, my real estate firm and I are “disinterested”

persons within the meaning of the Bankruptcy Code. Neither I nor any member of this firm

holds or represents an interest adverse to the estate.

       AFFIANT FURTHER SAYETH NAUGHT.

       This 7th day of May, 2019.
                                                         _/s/ PAULA ROBERTS_____________
                                                         PAULA ROBERTS
Sworn to and subscribed
before me this 7th day of May, 2019.

/s/ TINA M. SCHLISNER          (NOTARY SEAL)
Notary Public
Commission expires:
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                              CERTIFICATE OF SERVICE

       THIS IS TO CERTIFY that I have this date served the within and foregoing

APPLICATION OF CHAPTER 7 TRUSTEE TO EMPLOY REAL ESTATE AGENT TO MARKET

PROPERTY FOR SALE and supporting AFFIDAVIT (of Realtor) upon the following by

depositing same in the United States Mail, first class postage prepaid, properly addressed as

follows:

Office of U.S. Trustee
362 Richard B. Russell Federal Bldg.
75 Ted Turner Dr., S.W.
Atlanta, GA 30303-3311

Paula Roberts
Coldwell Banker Kinard Realty
704 S. Thornton Ave.
Dalton, GA 30720

James M. Setters, Esq.
James M. Setters & Associates
215 Evitt Pkwy
Ringgold, GA 30736

Dated: May 7, 2019
                                                     /s/ TRACEY L. MONTZ
                                                     Tracey L. Montz
                                                     Chapter 7 Trustee


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Marietta, GA 30062
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trceymontz@yahoo.com
